Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 1 of 20 Page ID #:1



 1   FARHAD NOVIAN (SBN 118129)
     farhad@novianlaw.com
 2   MICHAEL O’BRIEN (SBN 277244)
 3   mobrien@novianlaw.com
     NOVIAN & NOVIAN, LLP
 4   1801 Century Park East, Suite 1201
 5   Los Angeles, California 90067
     Telephone: (310) 553-1222
 6   Facsimile: (310) 553-0222
 7
     Attorneys for Plaintiff TRILLER, INC.
 8

 9                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
10

11   TRILLER, INC., a Delaware corporation,       CASE NO.:

12                     Plaintiff,                 COMPLAINT FOR:
13                                                  1. COPYRIGHT
              vs.                                      INFRINGEMENT
14                                                  2. VIOLATION OF THE
15   FILMDAILY.COM, an unknown                         FEDERAL
     business entity; ACCESSTVPRO.CO, an               COMMUNICATIONS ACT:
16   unknown business entity;                          47 U.S.C. § 605
17   ONLINE2LIVESTREAM.US, an                       3. VIOLATION OF THE
     unknown business entity;                          FEDERAL
18   CRACKSTREAMSLIVE.COM, an                          COMMUNICATIONS ACT:
19   unknown business entity; SPORTS-                  47 U.S.C. § 553
     TODAY.CLUB, an unknown business                4. CONVERSION
20   entity; MY-SPORTS.CLUB, an unknown             5. BREACH OF CONTRACT
21   business entity; BILASPORT.COM, an             6. CONSPIRACY
     unknown business entity; TRENDY                7. VIOLATIONS OF THE
22   CLIPS, an unknown business entity;                COMPUTER FRAUD AND
23   MIKE, an unknown business entity;                 ABUSE ACT:
     YOUR EXTRA, an unknown business                   18 U.S.C. § 1030
24   entity; ECLIPT GAMING, an unknown              8. VICARIOUS COPYRIGHT
25   business entity; ITSLILBRANDON, an                INFRINGEMENT
     unknown business entity; and DOES 1
26   through 100, inclusive,                      JURY TRIAL DEMANDED
27
                       Defendants.
28
                                              1
                                        COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 2 of 20 Page ID #:2



 1             Plaintiff Triller, Inc., a Delaware corporation (“Plaintiff” or “Triller”) hereby
 2   complains against Defendants FILMDAILY.COM, an unknown business entity
 3   (“Filmdaily.com”);         ACCESSTVPRO.CO,           an    unknown      business     entity
 4   (“Accesstvpro.co”); ONLINE2LIVESTREAM.US, an unknown business entity
 5   (“Online2livestream.us”); CRACKSTREAMSLIVE.COM, an unknown business
 6   entity (“Crackstreamslive.com”); SPORTS-TODAY.CLUB, an unknown business
 7   entity (“Sports-today.club”), MY-SPORTS.CLUB, an unknown business entity (“My-
 8   sports.club”), BILASPORT.COM, an unknown business entity (“Bilasport.com”),
 9   TRENDY CLIPS, an unknown business entity (“Trendy Clips”), MIKE, an unknown
10   business entity (“Mike”), YOUR EXTRA, an unknown business entity (“Your
11   Extra”), ECLIPT GAMING, an unknown business entity (“Eclipt Gaming”),
12   ITSLILBRANDON, an unknown business entity (“ItsLilBrandon”), and DOES 1
13   through 100, inclusive (collectively, the “Defendants”), and alleges as follows:
14                                  NATURE OF THIS ACTION
15            1.       Through this action, Triller seeks in excess of $100,000,000.00 against
16   Defendants and each of them all of whom are cyber-criminals, for their outright theft
17   and diversion of upwards of 2,000,000 unique viewers by providing them with illegal
18   and unauthorized viewings of the Broadcast of the Jake Paul vs. Ben Askren boxing
19   event. Plaintiff is the copyright owner and publisher of the Triller Fight Club
20   broadcast of the “Jake Paul vs. Ben Askren” boxing event, including all undercard
21   bouts and the entire television broadcast, exhibited via closed circuit television and via
22   encrypted satellite signal (hereinafter referred to as the “Broadcast”). The Broadcast
23   originated via satellite uplink and was subsequently re-transmitted to cable systems
24   and satellite companies via satellite signal and/or retransmitted via satellite signal to
25   licensed content distributors such as Plaintiff’s authorized online platforms. Plaintiff
26   institutes this action to obtain remedy for—and to permanently hinder—the blatantly
27   unlawful infringement and rampant theft of its copyrighted work by the Defendants.
28   Defendants, and each of them, have utilized various torrent and streaming websites
                                                   2
                                             COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 3 of 20 Page ID #:3



 1   such          as       https://youtube.com,     https://filmdaily.co,   https://accesstvpro.co,
 2   https://online2livestream.us, https://crackstreamslive.com, https://sports-today.club/,
 3   https://my-sports.club/, and https://bilasports.com to unlawfully upload, distribute,
 4   and publicly display, without authorization, the Broadcast to the users of such
 5   websites. Upon information and belief, Defendants, and each of them, acted
 6   knowingly, willfully, unlawfully and with blatant disregard to Plaintiff’s copyright in
 7   the Broadcast by uploading the Broadcast to the aforementioned websites with
 8   additional shareable payment links, such as PayPal links, which allow users to remit
 9   direct payments to the various Defendants in order to fund and endorse each respective
10   Defendants’ infringement of Plaintiff’s Broadcast. Defendants’ calculated and
11   reprehensible infringement, theft, and other unlawful acts—committed in knowing
12   violation of the law—has resulted in damages suffered by Plaintiff in excess of
13   $100,000,000.00, by stealing and diverting upwards of 2,000,000 unique viewers of
14   the illegal and unauthorized viewings of the Broadcast from Plaintiff.
15            2.        Acting with intentional and knowing disregard of Plaintiff’s exclusive
16   rights in the Broadcast, Defendants—who are nothing less than cyber-criminals—
17   employ various user profiles on websites, including those mentioned above, to
18   illegally upload copyrighted programming, including the Broadcast, and to facilitate
19   the unauthorized copying, sharing, downloading, uploading, and distribution of such
20   programming. Through their egregious conduct, Defendants also encourage other
21   online users to copy, share, download, distribute and share the Broadcast on the
22   aforementioned websites. Defendants further unlawfully facilitate, participate, and
23   induce other users to engage in the unauthorized reproduction, adaptation, distribution
24   and public display of Plaintiff’s copyrighted Broadcast all to line their own pockets
25   with monies that belong to Plaintiff.
26            3.        Notwithstanding each Defendants’ recognition that Plaintiff never
27   authorized their respective copying, downloading, uploading, public display and/or
28   distribution of the Broadcast, Defendants continue to engage—and unjustly benefit—
                                                        3
                                                   COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 4 of 20 Page ID #:4



 1   from their infringing conduct. Defendants’ plain acts of thievery, misappropriation,
 2   and infringement, as further described herein, are tantamount to, and no less deplorable
 3   than, the acts of a pilferer, poaching on and looting the fruits of another’s hard-earned
 4   labor.
 5                                  JURISDICTION AND VENUE
 6            4.       The Court has subject matter jurisdiction pursuant to 17 U.S.C. § 101, et
 7   seq. and 28 U.S.C. § 1331, which states that district courts shall have original
 8   jurisdiction over all civil actions arising under the Constitution, laws, or treaties of the
 9   United States; and 28 U.S.C. Section § 1338 (a).
10            5.       Upon information and belief, venue is proper in this Court pursuant to 28
11   U.S.C § 1391(b)(2) because a substantial part of the events or omissions giving rise to
12   the claims occurred in this district. In the alternative, venue is also proper under 28
13   U.S.C. § 1391(b)(3), as Defendants, and each of them, are subject to the court’s
14   personal jurisdiction with respect to this action.
15                                                PARTIES
16            6.       Plaintiff is a corporation incorporated under the laws of Delaware and
17   having its principal place of business in the State of California.
18            7.       Plaintiff is engaged in the business of distributing its copyrighted
19   materials as defined in 17 U.S.C. § 101, and offering such content, including the
20   Broadcast, for purchase on a Pay-Per-View basis to its paying customers over the
21   internet or via cable or satellite TV. Plaintiff invests substantial money, time, and effort
22   in advertising, promoting, selling, and licensing programming such as the Broadcast.
23            8.       Plaintiff owns the copyrights to the Broadcast. As the exclusive owner of
24   the Copyright in its programing, including but not limited to the Broadcast, Plaintiff
25   possesses the exclusive rights to, inter alia, exhibit, distribute, disseminate and
26   perform the Broadcast publicly.
27            9.       Upon information and belief, Defendant Filmdaily.com is a business
28   entity, the exact nature of which is unknown, registered in Nevada and doing business
                                                    4
                                              COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 5 of 20 Page ID #:5



 1   in the State of California. Upon information and belief, Filmdaily.com offers the
 2   website https://filmdaily.co for the purpose of permitting, encouraging, facilitating,
 3   and inducing the sharing of videos and live programing of audiovisual materials
 4   between users of the website. Those materials include programming owned and/or
 5   controlled by Plaintiff, including the Broadcast, which was offered by Filmdaily.com
 6   through its illegal uploading and distribution of the Broadcast.
 7            10.      Upon information and belief, Defendant Accesstvpro.co is a business
 8   entity, the exact nature of which is unknown, registered in Arizona and doing business
 9   in the State of California. Upon information and belief, Accesstvpro.co offers the
10   website https://accesstvpro.co for the purpose of permitting, encouraging, facilitating,
11   and inducing the sharing of videos and live programing of audiovisual materials
12   between users of the website. Those materials include programming owned and/or
13   controlled by Plaintiff, including the Broadcast, which was offered by Accesstvpro.co
14   through its illegal uploading and distribution of the Broadcast.
15            11.      Upon information and belief, Defendant Online2livestream.us is a
16   business entity, the exact nature of which is unknown, doing business in the State of
17   California. Upon information and belief, Online2livestream.us offers the website
18   https://online2livestream.us for the purpose of permitting, encouraging, facilitating,
19   and inducing the sharing of videos and live programing of audiovisual materials
20   between users of the website. Those materials include programming owned and/or
21   controlled by Plaintiff, including the Broadcast, which was offered by
22   Online2livestream.us through its illegal uploading and distribution of the Broadcast.
23            12.      Upon information and belief, Defendant Crackstreamslive.com is a
24   business entity, the exact nature of which is unknown, doing business in the State of
25   California. Upon information and belief, Crackstreamslive.com offers the website
26   https://crackstreamslive.com for the purpose of permitting, encouraging, facilitating,
27   and inducing the sharing of videos and live programing of audiovisual materials
28   between users of the website. Those materials include programming owned and/or
                                                  5
                                            COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 6 of 20 Page ID #:6



 1   controlled by Plaintiff, including the Broadcast, which was offered by
 2   Crackstreamslive.com through its illegal uploading and distribution of the Broadcast.
 3            13.      Upon information and belief, Defendant Sports-today.club is a business
 4   entity, the exact nature of which is unknown, doing business in the State of California.
 5   Upon information and belief, Sports-today.club offers the website https://sports-
 6   today.club/ for the purpose of permitting, encouraging, facilitating, and inducing the
 7   sharing of videos and live programing of audiovisual materials between users of the
 8   website. Those materials include programming owned and/or controlled by Plaintiff,
 9   including the Broadcast, which was offered by Sports-today.club through its illegal
10   uploading and distribution of the Broadcast.
11            14.      Upon information and belief, Defendant My-sports.club is a business
12   entity, the exact nature of which is unknown, doing business in the State of California.
13   Upon information and belief, My-sports.club offers the website https://my-sports.club/
14   for the purpose of permitting, encouraging, facilitating, and inducing the sharing of
15   videos and live programing of audiovisual materials between users of the website.
16   Those materials include programming owned and/or controlled by Plaintiff, including
17   the Broadcast, which was offered by My-sports.club through its illegal uploading and
18   distribution of the Broadcast.
19            15.      Upon information and belief, Defendant Bilasport.com is a business
20   entity, the exact nature of which is unknown, doing business in the State of California.
21   Upon information and belief, Bilasport.com offers the website https://bilasports.com
22   for the purpose of permitting, encouraging, facilitating, and inducing the sharing of
23   videos and live programing of audiovisual materials between users of the website.
24   Those materials include programming owned and/or controlled by Plaintiff, including
25   the Broadcast, which was offered by Bilasport.com through its illegal uploading and
26   distribution of the Broadcast.
27            16.      Upon information and belief, Defendant Trendy Clips is a business
28   entity, the exact nature of which is unknown, doing business in the State of
                                                   6
                                             COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 7 of 20 Page ID #:7



 1   California. Upon information and belief, Trendy Clips operates the Youtube channel
 2   located at https://www.youtube.com/channel/UCYj6TdieiWvyuQc4s6J88uw for the
 3   purpose of permitting, encouraging, facilitating, and inducing the sharing of videos
 4   and live programing of audiovisual materials between users of the website. Those
 5   materials include programming owned and/or controlled by Plaintiff, including the
 6   Broadcast, which was offered by Trendy Clips through its illegal uploading and
 7   distribution of the Broadcast.
 8            17.      Upon information and belief, Defendant Mike is a business entity, the
 9   exact nature of which is unknown, doing business in the State of California. Upon
10   information and belief, Mike operates the Youtube channel located at
11   https://www.youtube.com/channel/UCc6_H_Qrmy_yGUe6M6vOClw for the
12   purpose of permitting, encouraging, facilitating, and inducing the sharing of videos
13   and live programing of audiovisual materials between users of the website. Those
14   materials include programming owned and/or controlled by Plaintiff, including the
15   Broadcast, which was offered by Mike through its illegal uploading and distribution
16   of the Broadcast.
17            18.      Upon information and belief, Defendant Your Extra is a business entity,
18   the exact nature of which is unknown, doing business in the State of California.
19   Upon information and belief, Your Extra operates the Youtube channel located at
20   https://www.youtube.com/channel/UCc6_H_Qrmy_yGUe6M6vOClw for the
21   purpose of permitting, encouraging, facilitating, and inducing the sharing of videos
22   and live programing of audiovisual materials between users of the website. Those
23   materials include programming owned and/or controlled by Plaintiff, including the
24   Broadcast, which was offered by Your Extra through its illegal uploading and
25   distribution of the Broadcast.
26            19.      Upon information and belief, Defendant Eclipt Gaming is a business
27   entity, the exact nature of which is unknown, doing business in the State of
28   California. Upon information and belief, Eclipt Gaming operates the Youtube
                                                    7
                                              COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 8 of 20 Page ID #:8



 1   channel located at
 2   https://www.youtube.com/channel/UCc6_H_Qrmy_yGUe6M6vOClw for the
 3   purpose of permitting, encouraging, facilitating, and inducing the sharing of videos
 4   and live programing of audiovisual materials between users of the website. Those
 5   materials include programming owned and/or controlled by Plaintiff, including the
 6   Broadcast, which was offered by Eclipt Gaming through its illegal uploading and
 7   distribution of the Broadcast.
 8            20.      Upon information and belief, Defendant ItsLilBrandon is a business
 9   entity, the exact nature of which is unknown, doing business in the State of
10   California. Upon information and belief, ItsLilBrandon operates the Youtube channel
11   located at https://www.youtube.com/channel/UCc6_H_Qrmy_yGUe6M6vOClw for
12   the purpose of permitting, encouraging, facilitating, and inducing the sharing of
13   videos and live programing of audiovisual materials between users of the website.
14   Those materials include programming owned and/or controlled by Plaintiff,
15   including the Broadcast, which was offered by ItsLilBrandon through its illegal
16   uploading and distribution of the Broadcast.
17            21.      Plaintiff is informed and believes, and thereon alleges, that the actions
18   and omissions that serve as the basis for this complaint were undertaken jointly and
19   with the consent, conspiracy, cooperation, and joint participation of all defendants.
20            22.      Plaintiff is informed and believes, and thereon alleges, that at all times
21   mentioned herein, each defendant was the agent, joint venture, and/or employee of
22   each and every other defendant, and in doing the things alleged in this complaint, each
23   defendant was acting within the course and scope of such agency, joint venture, and/or
24   employment and with the permission and consent of each of the other defendants.
25            23.      The true names and capacities, whether individual, corporate, associate,
26   or otherwise, of Defendants named herein as DOES 1 through 10, inclusive, and each
27   of them, are unknown to Plaintiff at this time. Plaintiff therefore sues said Defendants,
28   and each of them, by such fictitious names. Plaintiff will advise the Court and seek
                                                     8
                                              COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 9 of 20 Page ID #:9



 1   leave to amend this Complaint when the true names and capacities of each such
 2   Defendant has been ascertained. Plaintiff is informed and believes, and based thereon
 3   alleges, that each such Defendant designated as a DOE is responsible in some manner
 4   for the events and happenings referred to herein or as hereinafter specifically alleged.
 5                                            COUNT ONE:
 6                          (For Copyright Infringement Against All Defendants)
 7            24.      Plaintiff hereby realleges, and by this reference incorporates herein, each
 8   and every allegation of preceding and subsequent paragraphs as though fully set forth
 9   herein.
10            25.      Plaintiff is the owner of the copyrights to the Broadcast, including all
11   undercard bouts and the entire television Broadcast. Plaintiff’s rights include, but are
12   not limited to, all moving images and other audio/video content which were
13   broadcasted via encrypted satellite signal. The Broadcast originated via satellite uplink
14   and were subsequently retransmitted to cable systems and satellite companies via
15   satellite signal and/or retransmitted via satellite signal to licensed content distributors
16   such as Plaintiff’s authorized, online platforms.
17            26.      As the copyright holder to the rights of the Broadcast, Plaintiff has the
18   exclusive right to copy, publicly perform and distribute it.
19            27.      Defendants, and each of them, failed to obtain the property authority or
20   license from Plaintiff to copy, publicly perform or distribute the Broadcast.
21            28.      Upon information and belief, Defendants illegally copied, uploaded,
22   publicly performed and distributed the Broadcast via the internet with full knowledge
23   that the Broadcast could only be obtained by purchasing a license from Plaintiff.
24            29.      Defendants, and each of them, have utilized various torrent and
25   streaming websites such as https://filmdaily.co, https://accesstvpro.co,
26   https://online2livestream.us, https://crackstreamslive.com, https://sports-today.club/,
27   https://my-sports.club/, https://bilasports.com, and https://youtube.com to upload,
28   distribute, and publicly display the Broadcast to the users of such website in direct
                                                     9
                                               COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 10 of 20 Page ID #:10



 1   violation of the exclusive rights owned by Plaintiff.
 2            30.      Specifically, upon information and belief, the Defendants, and each of
 3   them, obtained the Broadcast through internet websites, cable and/or satellite Pay-Per-
 4   View purchase intended for private, non-commercial viewing, and subsequently
 5   illegally re-transmitted the Broadcast and publicly exhibited the Broadcast by illegally
 6   copying and uploading the Broadcast to the aforementioned websites for other users
 7   to also illegally view, download, access, share, and distribute.
 8            31.      Defendants, and each of them, have infringed on Plaintiff’s copyright in
 9   the Broadcast by reproducing, adapting distributing, uploading, copying, and publicly
10   displaying the copyrighted works without Plaintiff’s authorization in violation of the
11   Copyright Act, 17 U.S.C. § 501, and have recouped profits from the aforementioned
12   websites through users’ payments to the Defendants or through advertising revenue
13   generated through the websites.
14            32.      Defendants’ acts of infringement were willful, in blatant disregard of, and
15   committed with indifference to Plaintiff’s rights.
16            33.      By reason of Defendants’ conduct as described herein, Defendants, and
17   each of them, willfully violated 17 U.S.C. § 501.
18            34.      Due to Defendants’ acts of copyright infringement as alleged herein,
19   Defendants have obtained direct and indirect profits Defendants would not otherwise
20   have realized but for Defendants’ infringement of the Broadcast. As such, Plaintiff is
21   entitled to disgorgement of Defendant’s profits directly and indirectly attributable to
22   Defendants’ infringement of the Broadcast, in an amount to be established at trial,
23   but in no event less than $100,000,000.00.
24            35.      Plaintiff is further entitled to its attorney’s fees and full costs pursuant to
25   17 U.S.C. § 505.
26   ///
27   ///
28   ///
                                                      10
                                                COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 11 of 20 Page ID #:11



 1                                           COUNT TWO:
 2   (For Violations of the Federal Communications Act: 47 U.S.C. §605 Against All
 3                                             Defendants)
 4            36.      Plaintiff hereby realleges, and by this reference incorporates herein, each
 5   and every allegation of preceding and subsequent paragraphs as though fully set forth
 6   herein.
 7            37.      Plaintiff is the owner of the Broadcast, including all undercard matches
 8   and the entire television broadcast, aired via closed circuit television and via encrypted
 9   satellite signal.
10            38.      The Broadcast was available for non-commercial, private viewing
11   through Plaintiff, its authorized online vendors, as well as through Pay-Per-View
12   purchase through authorized satellite TV providers. Defendants, in a calculated effort
13   to use Plaintiff’s Broadcast for their own commercial benefit, obtained access to
14   Plaintiff’s Broadcast by purchasing the programming and subsequently copying the
15   Broadcast and uploading it to torrent and streaming websites such as and
16   https://youtube.com,                 https://filmdaily.co,            https://accesstvpro.co,
17   https://online2livestream.us, https://crackstreamslive.com, https://sports-today.club/,
18   https://my-sports.club/, and https://bilasports.com.
19            39.      In order to purchase and view the Broadcast through a satellite TV
20   provider intended for private, non-commercial viewing, an individual purchaser was
21   subject to the copyright language contained therein which expressly stated that the
22   “unauthorized reproduction or distribution of the copyrighted work is illegal.”
23            40.      Upon information and belief, with full knowledge that the Broadcast was
24   not to be received, distributed, reproduced and or publicly exhibited by individuals
25   unauthorized to do so, Defendants, without authorization from Plaintiff, unlawfully
26   intercepted, received and/or de-scrambled Plaintiff’s satellite signal for purposes of
27   direct commercial advantage and subsequently divulged the Broadcast to the public
28   by copying and distributing said Broadcast to the users of the aforementioned websites
                                                    11
                                               COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 12 of 20 Page ID #:12



 1   in exchange for payments to aid, encourage, support, or otherwise endorse Defendants’
 2   infringing conduct.
 3            41.      Upon information and belief, Plaintiff alleges that Defendants effected
 4   unauthorized interception and receipt of Plaintiff’s Broadcast via Defendants’ satellite
 5   TV service by ordering programming for residential use and subsequently copying,
 6   uploading, distributing and publicly displaying the Broadcast without authorization,
 7   or by such other means which are unknown to Plaintiff and known only to Defendants.
 8            42.      47 U.S.C. § 605(a) prohibits the unauthorized reception and publication
 9   or use of communications such as the Broadcast for which Plaintiff had the distribution
10   rights thereto.
11            43.      By reason of Defendants’ conduct as described herein, Defendants, and
12   each of them, willfully violated 47 U.S.C. § 605(a)
13            44.      As a proximate result of Defendants’ willful violations of 47 U.S.C. §
14   605(a), Plaintiff is entitled to damages, in the discretion of this Court, under 47 U.S.C.
15   § 605(a), Plaintiff is entitled to damages, in the discretion of this Court, under 47
16   U.S.C. § 605(e)(3)(C)(i)(II) and (ii) of up to the maximum amount of $110,000.00 as
17   to each violation.
18            45.      Pursuant to 47 U.S.C. § 605, Plaintiff is also entitled to an award of full
19   costs, interest and reasonable attorney’s fees.
20                                         COUNT THREE:
21   (For Violations of the Federal Communications Act: 47 U.S.C. §553 Against All
22                                             Defendants)
23            46.      Plaintiff hereby realleges, and by this reference incorporates herein, each
24   and every allegation of preceding and subsequent paragraphs as though fully set forth
25   herein.
26            47.      Upon information and belief, Defendants willfully and unlawfully
27   accessed, received, and subsequently re-transmitted the Broadcast over a cable TV or
28   internet system while knowing that they were unauthorized to do so.
                                                    12
                                               COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 13 of 20 Page ID #:13



 1            48.      47 U.S.C. §553 prohibits the unauthorized reception of any
 2   communications service offered over a cable system such as the transmission of the
 3   Broadcast for which Plaintiff holds the copyright ownership thereto.
 4            49.      Upon information and belief, the Defendants knowingly, willfully and
 5   unlawfully accessed, received and subsequently re-transmitted the Broadcast when it
 6   was offered via a cable TV or internet subscription without the authorization from
 7   Plaintiff and without paying Plaintiff the appropriate Pay-Per-View fee.
 8            50.      By reason of Defendants’ conduct as described herein, Defendants, and
 9   each of them, willfully violated 47 U.S.C. §553.
10            51.      As a proximate result of Defendants’ willful violations of 47 U.S.C. §553,
11   Plaintiff is entitled to damages in an amount, in the discretion of this Court, of up to
12   the maximum amount of $60,000.00 as to each violation, plus the recovery of full
13   costs, interest and reasonable attorney’s fees, in the discretion of this Court.
14                                          COUNT FOUR:
15                             (For Conversion Against All Defendants)
16            52.      Plaintiff hereby realleges, and by this reference incorporates herein, each
17   and every allegation of preceding and subsequent paragraphs as though fully set forth
18   herein.
19            53.      Plaintiff, at all relevant times, owned, possessed, and had the right to
20   possess the copyrights to the Broadcast.
21            54.      By virtue of Defendants’ conduct as set forth herein, Defendants, and
22   each of them, knowingly and intentionally substantially interfered with Plaintiff’s
23   property by unlawfully converting it for their own commercial use, benefit, and private
24   financial gain.
25            55.      Defendants’ acts of conversion were done without Plaintiff’s consent and
26   with the objective of depriving Plaintiff of its copyright ownership for Defendants’
27   direct commercial benefit, advantage and private financial gain.
28            56.      As a proximate result of Defendants’ wrongful conversion of the
                                                    13
                                               COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 14 of 20 Page ID #:14



 1   Broadcast, Plaintiff suffered damages in an amount subject to proof at trial but in no
 2   event less than $100,000,000.00.
 3                                           COUNT FIVE
 4                          (For Breach of Contract Against All Defendants)
 5            57.      Plaintiff hereby realleges, and by this reference incorporates herein, each
 6   and every allegation of preceding and subsequent paragraphs as though fully set forth
 7   herein.
 8            58.      Plaintiff would show that pursuant to Plaintiff’s Terms of Use for its
 9   programming of the Broadcast, any user of Plaintiff’s authorized websites for Pay-
10   Per-View purchase and any purchaser of a residential Pay-Per-View feed from
11   Plaintiff, either via cable or satellite TV, agreed not to reproduce, distribute, or
12   transmit any of Plaintiff’s materials, including the Broadcast.
13            59.      Upon information and belief, Defendants, and each of them, purchased
14   the Broadcast through Plaintiff’s authorized websites or via Pay-Per-View purchase
15   for private, residential viewing.
16            60.      Upon information and belief, with full knowledge that the Broadcast was
17   not to be unlawfully copied and distributed by individuals unauthorized to do so,
18   Defendants willfully and unlawfully copied, uploaded and distributed the Broadcast
19   to users of            torrent and streaming websites such as https://youtube.com,
20   https://filmdaily.co,           https://accesstvpro.co,        https://online2livestream.us,
21   https://crackstreamslive.com, https://sports-today.club/, https://my-sports.club/,and
22   https://bilasports.com so that the Broadcast could be accessed free of charge.
23            61.      As a proximate result of Defendants breach of their respective agreements
24   with Plaintiff, Plaintiff has been damaged through the loss of substantial amounts of
25   revenue, loss of business, loss of good-will and loss of customers, the sum value of
26   which will be proven at trial but which is an amount no less than $100,000,000.00
27   ///
28   ///
                                                    14
                                               COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 15 of 20 Page ID #:15



 1                                            COUNT SIX
 2                             (For Conspiracy Against All Defendants)
 3            62.      Plaintiff hereby realleges, and by this reference incorporates herein, each
 4   and every allegation of preceding and subsequent paragraphs as though fully set forth
 5   herein.
 6            63.      Upon information and belief, Defendants, and each of them, had an
 7   agreement between two or more persons.
 8            64.      Upon information and belief, pursuant to the respective Defendants’
 9   agreements, Defendants set out to intentionally, willfully, and unlawfully access and
10   copy Plaintiff’s Broadcast and subsequently upload the Broadcast for distribution and
11   public display in exchange for direct contributions from the users of the websites
12   known as such as https://youtube.com, https://filmdaily.co, https://accesstvpro.co,
13   https://online2livestream.us, https://crackstreamslive.com, https://sports-today.club/,
14   https://my-sports.club/, and https://bilasports.com or for advertisement revenue from
15   such websites.
16            65.      Upon information and belief, Defendants, and each of them,
17   intentionally, willfully, and unlawfully accessed, copied, uploaded, distributed, and
18   publicly displayed Plaintiff’s Broadcast using such websites and did in fact receive
19   direct contributions from users of such websites or advertisement revenue from such
20   websites.
21            66.      As a proximate result of Defendants respective agreements and
22   subsequent acts as described herein, Plaintiff has been damaged through the loss of
23   substantial amounts of revenue, loss of business, loss of good-will, and loss of
24   customers, the sum value of which will be proven at trial but which is an amount no
25   less than $100,000,000.00
26   ///
27   ///
28   ///
                                                    15
                                               COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 16 of 20 Page ID #:16



 1                                          COUNT SEVEN
 2         (For Violations of the Computer Fraud and Abuse Act: 18 U.S.C. § 1030
 3                                      Against All Defendants)
 4            67.      Plaintiff hereby realleges, and by this reference incorporates herein, each
 5   and every allegation of preceding and subsequent paragraphs as though fully set forth
 6   herein.
 7            68.      Upon information and belief, Defendants, and each of them, without
 8   authorization or by exceeding the scope of granted authorization, accessed a protected
 9   computer containing Plaintiff’s live internet streams of the Broadcast, and knowingly
10   and with the intent to defraud, unlawfully copied, distributed, and publicly displayed
11   the Broadcast.
12            69.      Upon information and belief, as a proximate result of Defendants’
13   unlawful and fraudulent conduct as set forth herein, Defendants, and each of them,
14   obtained the valuable copyrighted Broadcast and subsequently uploading, distributing,
15   and publicly displaying the Broadcast using such as and https://youtube.com,
16   https://filmdaily.co,           https://accesstvpro.co,        https://online2livestream.us,
17   https://crackstreamslive.com, https://sports-today.club/, https://my-sports.club/, and
18   https://bilasports.com.
19                                          COUNT EIGHT:
20               (For Vicarious Copyright Infringement Against All Defendants)
21            70.      Plaintiff hereby realleges, and by this reference incorporates herein, each
22   and every allegation of preceding and subsequent paragraphs as though fully set forth
23   herein.
24            71.      Plaintiff is the owner of the copyrights to the Broadcast, including all
25   undercard bouts and the entire television Broadcast. Plaintiff’s rights include, but are
26   not limited to, all moving images and other audio/video content which were
27   broadcasted via encrypted satellite signal. The Broadcast originated via satellite uplink
28   and were subsequently retransmitted to cable systems and satellite companies via
                                                    16
                                               COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 17 of 20 Page ID #:17



 1   satellite signal and/or retransmitted via satellite signal to licensed content distributors
 2   such as Plaintiff’s authorized, online platforms.
 3            72.         Upon information and belief, Defendants, and each of them, directly
 4   infringed on Plaintiff’s Broadcast by illegally uploading the Broadcast and/or portions
 5   thereof        via     the   internet   on   the   websites   such   as   https://youtube.com,
 6   https://filmdaily.co,              https://accesstvpro.co,       https://online2livestream.us,
 7   https://crackstreamslive.com, https://sports-today.club/, https://my-sports.club/, and
 8   https://bilasports.com in direct violation of Plaintiff’s exclusive copyright.
 9            73.         Upon information and belief, Defendants encouraged online users to
10   copy, share, download, distribute, and share content, including the Broadcast, on the
11   aforementioned websites, and defendants facilitated, participated in and induced users
12   to engage in the unauthorized reproduction, adaptation, public display and public
13   performance of programming containing Plaintiff’s copyrighted Broadcast.
14            74.         Defendants had the right and ability to control and prevent the users on
15   such aforementioned websites from directly accessing and infringing on Plaintiff’s
16   Broadcast which was copied, uploaded, and distributed by Defendants, and each of
17   them.
18            75.         Defendants derived a financial benefit from such users’ activities on the
19   aforementioned websites by directing such users to external and/or shareable payment
20   links, such as PayPal links, whereby users could remit direct payments to Defendants
21   in order to compensate, fund and endorse each respective Defendants’ infringement of
22   Plaintiff’s Broadcast.
23            76.         By reason of Defendants’ conduct as described herein, Defendants, and
24   each of them, willfully violated 17 U.S.C. § 501.
25            77.         Due to Defendants’ acts of copyright infringement as alleged herein,
26   Defendants have obtained direct and indirect profits Defendants would not otherwise
27   have realized but for Defendants’ infringement of the Broadcast. As such, Plaintiff is
28   entitled to disgorgement of Defendant’s profits directly and indirectly attributable to
                                                        17
                                                  COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 18 of 20 Page ID #:18



 1   Defendants’ infringement of the Broadcast, in an amount to be established at trial but
 2   no less than $100,000,000.00.
 3            78.      Plaintiff is further entitled to its attorney’s fees and full costs pursuant to
 4   17 U.S.C. § 505.
 5                                       PRAYER FOR RELIEF
 6            WHEREFORE, Plaintiff prays for judgment against Defendants, and each of
 7   them, as follows:
 8   AS TO COUNT ONE:
 9            1.       That Defendants, Defendants’ employees, representatives, and agents be
10                     enjoined from copying, uploading, distributing, selling, or otherwise
11                     infringing on Plaintiff’s copyright in the Broadcast;
12            2.       That Plaintiff be awarded all profits of Defendants plus all losses of
13                     Plaintiff, the exact sum to be proven at the time of trial but in no event
14                     less than $100,000,000.00; and
15            3.       That an order be issued requiring Defendants, and each of them, to
16                     account to Plaintiff for profits attributable to their use of Plaintiff’s
17                     copyright, in accordance with proof.
18   AS TO COUNT TWO:
19            4.       For statutory penalties in an amount, in the discretion of this Court, of up
20                     to the maximum amount of $110,000.00 for each of the Defendants’
21                     willful violations of 47 U.S.C. § 605(a).
22   AS TO COUNT THREE:
23            5.       For statutory penalties in an amount, in the discretion of this Court, of up
24                     to the maximum amount of $60,000.00 for each of the Defendants’ willful
25                     violations of 47 U.S.C. § 553; and
26            6.       For Attorney’s fees, interest, and costs of suit pursuant to 17 U.S.C. §
27                     505; 47 U.S.C. 605(e)(3)(B)(iii) or §553(c)(2)(c);
28   ///
                                                      18
                                                COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 19 of 20 Page ID #:19



 1   AS TO COUNT FOUR:
 2            7.       For damages within this Court’s jurisdiction in an amount according to
 3                     proof at trial but in no event less than $100,000,000.00; and
 4            8.       For punitive damages in an amount appropriate to punish Defendants and
 5                     deter others from engaging in similar misconduct.
 6   AS TO COUNT FIVE:
 7            9.       For damages within this Court’s jurisdiction in an amount according to
 8                     proof at trial but in no event less than $100,000,000.00; and
 9            10.      For consequential damages.
10   AS TO COUNT SIX:
11            11.      For damages within this Court’s jurisdiction in an amount according to
12                     proof at trial but in no event less than $100,000,000.00;
13            12.      For punitive damages in an amount appropriate to punish Defendants and
14                     deter others from engaging in similar misconduct.
15   AS TO COUNT SEVEN:
16            13.      For damages within this Court’s jurisdiction in an amount according to
17                     proof at trial but in no event less than $100,000,000.00; and
18            14.      Injunctive relief enjoining from copying, uploading, distributing, selling,
19                     or otherwise infringing on Plaintiff’s copyright in the Broadcast.
20   AS TO COUNT EIGHT:
21            15.      That Defendants, Defendants’ employees, representatives, and agents be
22                     enjoined from copying, uploading, distributing, selling, or otherwise
23                     infringing on Plaintiff’s copyright in the Broadcast;
24            16.      That Plaintiff be awarded all profits of Defendants plus all losses of
25                     Plaintiff, the exact sum to be proven at the time of trial but in no event
26                     less than $100,000,000.00; and
27            17.      That an order be issued requiring Defendants, and each of them, to
28                     account to Plaintiff for profits attributable to their use of Plaintiff’s
                                                    19
                                               COMPLAINT
     4820-8923-8759, v. 2
Case 2:21-cv-03502-PA-RAO Document 1 Filed 04/23/21 Page 20 of 20 Page ID #:20



 1                     copyright, in accordance with proof.
 2   AS TO ALL COUNTS:
 3            18.      For pre-judgment and post-judgment interest on all damages awarded;
 4            19.      For attorneys’ fees and costs of suit incurred herein according to proof;
 5                     and
 6            20.      For such other and further relief as the Court may deem just and proper.
 7

 8   Dated: April 23, 2021                       NOVIAN & NOVIAN, LLP
                                                 Attorneys at Law
 9
10                                        By:    /s/ Farhad Novian
                                                 FARHAD NOVIAN, State Bar No. 118129
11
                                                 MICHAEL O’BRIEN, State Bar No. 277244
12                                               Attorneys for Plaintiff TRILLER, INC.
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                    20
                                                COMPLAINT
     4820-8923-8759, v. 2
